Case 9:17-cv-80495-KAM Document 411 Entered on FLSD Docket 07/03/2019 Page 1 of 3



                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                CASE NO.:17-80495-CIV-MARRA

  CONSUMER FINANCIAL PROTECTION
  BUREAU,

         Plaintiff,

  v.

  OCWEN FINANCIAL CORPORATION;
  OCWEN MORTGAGE SERVICING, INC.;
  and OCWEN LOAN SERVICING, LLC ,

        Defendants.
  _____________________________________/


  OFFICE OF THE ATTORNEY GENERAL,
  THE STATE OF FLORIDA,
  Department of Legal Affairs,
  and

  OFFICE OF FINANCIAL REGULATION,
  THE STATE OF FLORIDA,
  Division of Consumer Finance,

         Plaintiffs,

  v.

  OCWEN FINANCIAL CORPORATION;
  OCWEN MORTGAGING SERVICING, INC.;
  and OCWEN LOAN SERVICING, LLC

        Defendants.
  ________________________________________/
                                     ORDER

         This Cause is before the Court upon the pro se putative Intervenors= (AIntervenors@) Motion

  for Reconsideration and Appeal Order Denying Intervention, filed June 14, 2019 (ECF No. 408).

                                                  1
Case 9:17-cv-80495-KAM Document 411 Entered on FLSD Docket 07/03/2019 Page 2 of 3



         The Court has considered the Motion and the entire file and is otherwise fully advised in

  the premises.

            I.    Standard of Review

         “When . . . a motion for reconsideration is served within twenty-eight days of the entry of

  the order at issue, Federal Rule of Civil Procedure 59(e) applies.” Krstic v. Princess Cruise Lines,

  Ltd., 706 F. Supp. 2d 1271, 1281 (S.D. Fla. 2010). “Rule 59(e) may not be used ‘to relitigate old

  matters, raise argument or present evidence that could have been raised prior to the entry of

  judgment.’” Holt v. United States, 249 F. App'x 753, 756 (11th Cir. 2007) (quoting Michael Linet,

  Inc. v. Village of Wellington, Fla., 408 F.3d 757, 763 (11th Cir. 2005)).

         It is well established that “motions for reconsideration are disfavored and should be granted

  only when the movant shows newly discovered evidence, clear error, manifest injustice, or an

  intervening change in law.” In re Garcia, 2002 WL 32372583, at *1 (S.D. Fla. Nov. 4, 2002).

  “The motion for reconsideration is not an opportunity for a party to improve upon his arguments

  or try out new arguments; nor is it properly a forum for a party to vent his dissatisfaction with the

  Court's reasoning.” McCoy v. Macon Water Auth., 966 F. Supp. 1209, 1223 (M.D. Ga. 1997).

         “Although Rule 59(e) does not set forth any specific criteria, courts have delineated three

  major grounds justifying reconsideration under Rule 59(e): ‘(1) an intervening change in

  controlling law; (2) the availability of new evidence; and (3) the need to correct clear error or

  prevent manifest injustice.’” Krstic, 706 F. Supp. 2d at 1281–82 (quoting Williams v. Cruise Ships

  Catering & Serv. Int'l, N.V., 320 F. Supp. 2d 1347, 1357–58 (S.D. Fla. 2004)).

          II.     Discussion

         In addition to the grounds stated in the Court’s Order Denying Intervention (ECF No. 375),


                                                   2
Case 9:17-cv-80495-KAM Document 411 Entered on FLSD Docket 07/03/2019 Page 3 of 3



  the Court notes that intervention is not permitted to allow a party to seek or obtain evidence for

  other litigation as asserted by the proposed Intervenors. (See ECF No. 408 at 4).

         Federal Rule of Civil Procedure 24(b)(3) provides that “[i]n exercising its discretion, the

  court must consider whether the intervention will unduly delay or prejudice the adjudication of the

  original parties’ rights.” Fed. R. Civ. P. 24(b)(3). In doing so, the Court relied on the length of

  time discovery had been underway when the Motion to Intervene (ECF No. 220) was filed, not the

  length of time between the commencement of discovery and the Court’s ruling on the motion to

  intervene. (See ECF No. 375 at 5).

         The Intervenors have failed to establish any of the grounds that would justify a

  reconsideration, such as identifying a change in controlling law, new evidence, or clear error.

  See Krstic, 706 F. Supp. 2d at 1281–82.

         Accordingly, it is ORDERED AND ADJUDGED that the pro se putative Intervenors=

  Motion for Reconsideration and Appeal Order Denying Intervention (ECF No. 408) is DENIED.

         DONE AND ORDERED in Chambers at West Palm Beach, Palm Beach County, Florida,

  this 3rd day of July, 2019.




                                                              KENNETH A. MARRA
                                                              United States District Judge




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